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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                    Tel. (513) 564-7000
       Clerk                        CINCINNATI, OHIO 45202-3988                  www.ca6.uscourts.gov




                                        Filed: August 8, 2023

                           Notice of Argument by Video Conference at
                     3:30 p.m. (Eastern Time) on Friday, September 1, 2023



Mr. Joshua A. Block
American Civil Liberties Union
Reproductive Freedom Unit
125 Broad Street, 18th Floor
New York, NY 10004

Mr. Clark Lassiter Hildabrand
Office of the Attorney General of Tennessee
P.O. Box 20207
Nashville, TN 37202-0207

                     Re: No. 23-5600, L. W., et al v. Jonathan Skrmetti, et al

Dear Counsel:

   This case is scheduled for argument by video conference at 3:30 p.m. (Eastern Time) on
Friday, September 1, 2023 before a three-judge panel of the Sixth Circuit Court of
Appeals. You must be available for argument from 3:00 p.m. through 5:30 p.m., even if your
argument is not first on the Court's docket. In addition, please note the following:

      Approximately one to two days prior to the argument date, you will be provided specific
       video conference information;
      The time allotted for oral argument is limited to 15 minutes per side;
      You may learn the names of the judges sitting on the panel by checking the Court's
       calendar when it is posted on the Sixth Circuit's website at www.ca6.uscourts.gov two
       weeks prior to argument.

  If you are the attorney who will present argument in this case, download the Argument
Acknowledgment form from the website and file it electronically with the Clerk's office by
August 14, 2023.
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   Counsel is strongly discouraged from seeking continuances of oral argument as they are
granted only in exceptional circumstances. If counsel is seeking a continuance or waiver of oral
argument, a motion should be filed as soon as possible. Please note that the filing of a motion
for a continuance or to waive argument does not guarantee a ruling prior to the scheduled
argument.

                                                Sincerely yours,

                                                s/Jeanine R. Hance
                                                Calendar Deputy

cc: Mr. Jonathan Backer
    Ms. Tiffany Bates
    Mr. David C. Bethea
    Ms. Tara L. Borelli
    Mr. Alexander Barrett Bowdre
    Mr. John J. Bursch
    Mr. Lucas Cameron-Vaughn
    Ms. Kara Dansky
    Mr. James D. Esseks
    Mr. David E. Fowler
    Mr. Christopher J. Gessner
    Mr. Steven James Griffin
    Mr. Gene Hamilton
    Ms. Brooke Ashley Huppenthal
    Mr. Edmund Gerard LaCour Jr.
    Ms. Mary Elizabeth McAlister
    Mr. Christopher Ernest Mills
    Mr. Jonathan F. Mitchell
    Mr. Adam K. Mortara
    Mr. Cameron Thomas Norris
    Mr. Andrew M. Nussbaum
    Mr. Joshua Kerry Payne
    Ms. Bonnie I. Robin-Vergeer
    Ms. Barbara Schwabauer
    Mr. Chase Strangio
    Ms. Sruti J. Swaminathan
    Mr. Jacob P. Warner
    Ms. Stella Marie Yarbrough
